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 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 JAMES R. CONOLLY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:21-MJ-148-AC
12                                                      STIPULATION REQUESTING TO RE-SET DATE
                                  Plaintiff,            FOR PRELIMINARY HEARING UNDER
13                                                      FEDERAL RULE OF CRIMINAL
                            v.                          PROCEDURE 5.1(c)
14
     JONATHAN PATRICK TURRENTINE,
                                                        DATE: October 7, 2021
15                                                      TIME: 2:00 p.m.
                                  Defendant.            COURT: Hon. Jeremy D. Peterson
16

17
            Plaintiff United States of America, by and through its attorney of record, Assistant United States
18
     Attorney James Conolly, and defendant Jonathan Turrentine, by and through his counsel of record,
19
     Assistant Federal Defender David M. Porter, request jointly that the Court move the current preliminary
20
     hearing date from October 7, 2021, to October 14, 2021. To support that request, the parties stipulate as
21
     follows:
22
            1.      The Complaint in this case was filed on September 17, 2021, and defendant first appeared
23
     before a judicial officer of the Court in which the charges in this case were pending on September 23,
24
     2021. ECF Nos. 1 & 5. At that appearance, defense counsel requested to continue the detention hearing
25
     to the following week. ECF No. 5. With the question of detention pending, out of caution, the Court set
26
     a preliminary hearing date of October 7, 2021, to comply with Federal Rule of Criminal
27
     Procedure 5.1(c)’s 14-day limit to hold such a hearing for a defendant in custody. Id.
28
            2.      At the detention hearing on September 30, 2021, following a recommendation from the
      STIPULATION                                        1
                 Case 2:21-mj-00148-AC Document 12 Filed 10/05/21 Page 2 of 3


 1 Pretrial Services Officer, and after hearing from the parties, the Court ordered the defendant released on

 2 Pretrial Services supervision, an unsecured bond, and other conditions. ECF No. 9.

 3          3.      With the defendant now out of custody, Rule 5.1(c) allows for the preliminary hearing to

 4 be held within 21 days of the defendant’s initial appearance. By this stipulation, the parties jointly

 5 request to continue the preliminary hearing date to October 14, 2021, at 2:00 p.m., before the duty

 6 Magistrate Judge. Because the date of October 14, 2021 remains within the 21-day limit of Rule 5.1(c),

 7 and the Court is therefore not extending the window in which the preliminary hearing must occur, the

 8 Court need not make a finding that the defendant has waived time or find that time is excludable under

 9 any other provision. Nevertheless, the parties stipulate that the delay is required to allow the defense

10 reasonable time for preparation, and for the government’s continuing investigation of the case.

11

12          IT IS SO STIPULATED.

13
     Dated: October 4, 2021                                  PHILLIP A. TALBERT
14                                                           Acting United States Attorney
15                                                           /s/ JAMES R. CONOLLY
                                                             JAMES R. CONOLLY
16                                                           Assistant United States Attorney
17

18   Dated: October 4, 2021                                  /s/ DAVID M. PORTER
                                                             DAVID M. PORTER
19
                                                             Assistant Federal Defender
20                                                           Counsel for Defendant
                                                             JONATHAN PATRICK TURRENTINE
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      STIPULATION                                        2
                 Case 2:21-mj-00148-AC Document 12 Filed 10/05/21 Page 3 of 3


 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 JAMES R. CONOLLY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
   Attorneys for Plaintiff
 6 United States of America

 7

 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:21-MJ-148-AC
11
                                                        [PROPOSED] FINDINGS AND ORDER RE-
12                                 Plaintiff,           SETTING DATE FOR PRELIMINARY HEARING
                            v.                          PURSUANT TO RULE 5.1(c)
13
     JONATHAN PATRICK TURRENTINE,                       DATE: October 7, 2021
14                                                      TIME: 2:00 p.m.
                        Defendant.
                                                        COURT: Hon. Jeremy D. Peterson
15

16          The Court has read and considered the Stipulation Requesting to Re-set Date for Preliminary
17 Hearing Under to Federal Rule of Criminal Procedure 5.1(c), filed by the parties in this matter on

18 October 4, 2021. The Court hereby finds that the Stipulation, which this Court incorporates by reference

19 into this Order, establishes permissible reason to move the preliminary hearing date to October 14, 2021,

20 pursuant to Rule 5.1(c) of the Federal Rules of Criminal Procedure.

21          THEREFORE:
22          1.      The date of the preliminary hearing is continued to October 14, 2021, at 2:00 p.m.; and
23          2.      Defendant shall appear by video teleconference at that date and time before the
24 Magistrate Judge on duty.

25          IT IS SO ORDERED.
26   Dated:      October 4, 2021
                                                            The Honorable Jeremy D. Peterson
27                                                          UNITED STATES MAGISTRATE JUDGE
28

      [PROPOSED] FINDINGS AND ORDER                     1
